     Case 2:04-cr-01189-CAS Document 212 Filed 06/24/20 Page 1 of 32 Page ID #:867



1    NICOLA T. HANNA
     United States Attorney
2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
     KAREN I. MEYER (Cal. Bar No. 220554)
4    Assistant United States Attorney
     Violent and Organized Crime Section
5         1300 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-8559
7         Facsimile: (213) 894-3713
          E-mail:    kim.meyer@usdoj.gov
8

9    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 04-1189(A)-CAS

14              Plaintiff,                    DECLARATIONS OF DR. TANISHA
                                              HALL FILED IN SUPPORT OF UNITED
15                    v.                      STATES’ OPPOSITION TO DEFENDANT’S
                                              UNEXHAUSTED MOTION TO REDUCE
16   GABRIEL GONZALEZ,                        SENTENCE PURSUANT TO 18 U.S.C.
                                              § 3582(C)(1)(A)
17              Defendant.

18

19
           Plaintiff United States of America, by and through its counsel
20
     of record, the United States Attorney for the Central District of
21
     California and Assistant United States Attorney Karen I. Meyer,
22
     hereby files the declarations of Dr. Tanisha Hall in support of the
23

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1    United States’ Opposition to Defendant’s Unexhausted Motion to Reduce

2    Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A).

3

4     Dated: June 24, 2020                 Respectfully submitted,

5                                          NICOLA T. HANNA
                                           United States Attorney
6
                                           BRANDON D. FOX
7                                          Assistant United States Attorney
                                           Chief, Criminal Division
8

9                                                /s/
                                           KAREN I. MEYER
10                                         Assistant United States Attorney

11                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2          On May 20, 2020, the government filed its opposition to
3    defendant’s motion for compassionate release (CR 206).            Included in
4    that opposition was government counsel’s declaration in which
5    government counsel quoted at length from a declaration from Dr.
6    Tanisha Hall, Associate Warden at FCC-Forrest City, Arkansas, filed
7    in another case.
8          On June 4, 2020, defendant filed a motion seeking production of
9
     the Hall declaration in that other case (CR 209).           On June 22, 2020,
10
     this Court granted defendant’s motion, ordering the government to
11
     file the declaration with the Court and provide it to defendant by
12
     July 2, 2020.
13

14         Pursuant to the Court’s order, the government is filing two

15   declarations from Dr. Hall that were filed in two separate cases.

16   While virtually identical, the government quoted from the Hall
17   declaration filed in United States v. Earnest Gibson IV, CR 12-600
18
     (S.D. Texas), because the version filed in the South Carolina case
19
     (United States v. Marcus Gibbs, CR 10-1104 (D. South Carolina)),
20
     appeared to be more in draft form.        The government is filing both
21

22   versions with the Court, and is providing both versions to defendant.

23   The government has redacted from the Texas declaration personal

24   identifying information of the inmate in that case.
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     Case 2:04-cr-01189-CAS Document 212 Filed 06/24/20 Page 4 of 32 Page ID #:870



1    NICOLA T. HANNA
     United States Attorney
2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
     KAREN I. MEYER (Cal. Bar No. 220554)
4    Assistant United States Attorney
     Violent and Organized Crime Section
5         1300 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-8559
7         Facsimile: (213) 894-3713
          E-mail:    kim.meyer@usdoj.gov
8

9    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 04-1189(A)-CAS

14              Plaintiff,                    DECLARATIONS OF DR. TANISHA
                                              HALL FILED IN SUPPORT OF UNITED
15                    v.                      STATES’ OPPOSITION TO DEFENDANT’S
                                              UNEXHAUSTED MOTION TO REDUCE
16   GABRIEL GONZALEZ,                        SENTENCE PURSUANT TO 18 U.S.C.
                                              § 3582(C)(1)(A)
17              Defendant.

18

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           Plaintiff United States of America, by and through its counsel
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     of record, the United States Attorney for the Central District of
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     California and Assistant United States Attorney Karen I. Meyer,
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     hereby files the declarations of Dr. Tanisha Hall in support of the
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1    United States’ Opposition to Defendant’s Unexhausted Motion to Reduce

2    Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A).

3

4     Dated: June 23, 2020                 Respectfully submitted,

5                                          NICOLA T. HANNA
                                           United States Attorney
6
                                           BRANDON D. FOX
7                                          Assistant United States Attorney
                                           Chief, Criminal Division
8

9                                                /s/
                                           KAREN I. MEYER
10                                         Assistant United States Attorney

11                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2          On May 20, 2020, the government filed its opposition to
3    defendant’s motion for compassionate release (CR 206).            Included in
4    that opposition was government counsel’s declaration in which
5    government counsel quoted at length from a declaration from Dr.
6    Tanisha Hall, Associate Warden at FCC-Forrest City, Arkansas, filed
7    in another case.
8          On June 4, 2020, defendant filed a motion seeking production of
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     the Hall declaration in that other case (CR 209).           On June 22, 2020,
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14         Pursuant to the Court’s order, the government is filing two

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16   While virtually identical, the government quoted from the Hall
17   declaration filed in United States v. Earnest Gibson IV, CR 12-600
18
     (S.D. Texas), because the version filed in the South Carolina case
19
     (United States v. Marcus Gibbs, CR 10-1104 (D. South Carolina)),
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     appeared to be more in draft form.        The government is filing both
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22   versions with the Court, and is providing both versions to defendant.

23   The government has redacted from the Texas declaration personal

24   identifying information of the inmate in that case.
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 1
 2                   UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
 3
 4   UNITED STATES OF AMERICA,            No. 4:12-CR-00600-002

 5            v.
 6   EARNEST GIBSON IV,                   DECLARATION OF
                                          DR. TANISHA HALL
 7                   Defendant.
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 1         I, Dr. Tanisha Hall, declare the following under 28 U.S.C. § 1746, and state that
 2   under penalty of perjury the following is true and correct to the best of my knowledge
 3   and belief:
 4   I.     Personal Background
 5         1.      I am currently employed by the Federal Bureau of Prisons (BOP) of the
 6   United States Department of Justice, as an Associate Warden, at FCC Forrest City.
 7         2.      I started my career with the Bureau of Prisons as a Correctional Officer
 8   at FPC Bryan in September 1994. In November 1995, I promoted to Correctional
 9   Systems Officer at FPC Bryan, and Drug Treatment Specialist in December 1997. In
10   September 1999, I promoted to Case Manager at FPC Bryan, where I remained until
11   my selection as Reentry Affairs Coordinator at FDC Houston in July 2012. In
12   September 2014, I promoted to Unit Manager at FCI Bastrop, and Executive
13   Assistant and Camp Administrator at FCC Pollock in July 2016, where I remained
14   until my selection as Associate Warden at FCC Forrest City in December 2018.
15 II.      The BOP’s Authority to Place Inmates on Home Confinement
16         3.      The BOP’s statutory authority to transfer prisoners to home
17   confinement rests in 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541. The BOP’s policy
18   and procedures regarding home confinement are outlined in BOP Program
19   Statement 7320.01, Home Confinement and BOP Operations Memorandum, Home
20   Confinement under the First Step Act, both of which are available on www.bop.gov via
21   the Resources tab. Both statutes set forth certain limitations with respect to the
22   BOP’s transfer authority.     See 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541.
23   However, pursuant to the Attorney General’s directives in light of the COVID-19
24   pandemic, dated March 26, 2020, and April 3, 2020, infra, and given the surge in
25   positive cases at select sites, the BOP began immediately reviewing all inmates who
26   have COVID-19 risk factors, as described by the Centers for Disease Control and
27   Prevention (CDC), to determine which inmates are suitable for home confinement.
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                                                                     Declaration of Dr. Hall| 1
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 1   Since the release of the Attorney General’s original memorandum dated March 26,
 2   2020, the BOP is prioritizing transfers to home confinement of all suitable inmates
 3   as an appropriate response to the COVID-19 pandemic.
 4 III. The Attorney General’s Memorandum for the Director of the Bureau of
        Prisons, dated March 26, 2020
 5
 6       4.   On March 26, 2020, the Attorney General issued a Memorandum for

 7   the Director of the Bureau of Prisons (the March 26, 2020 Memorandum) to ensure

 8   that, in light of the COVID-19 pandemic, BOP utilizes home confinement, where

 9   appropriate, to protect the health and safety of BOP personnel and people in BOP’s

10   custody. Pursuant to the March 26, 2020 Memorandum, BOP is prioritizing the use

11   of its statutory authorities to grant home confinement for inmates seeking transfer

12   in connection with the ongoing COVID-19 pandemic. It was noted in the March

13   26, 2020 Memorandum that many inmates will be safer in BOP facilities where the

14   population is controlled and there is ready access to doctors and medical care. But

15   for some eligible inmates, home confinement might be more effective in protecting

16   their health.

17         5.        In assessing whether home confinement should be granted pursuant to

18   the March 26, 2020 Memorandum, BOP considers the totality of circumstances for

19   each individual inmate, the statutory requirements for home confinement, and the

20   following non-exhaustive list of discretionary factors:

21              a. The age and vulnerability of the inmate to COVID-19, in accordance

22                   with the CDC guidelines;

23              b. The security level of the facility currently holding the inmate, with

24                   priority given to inmates residing in low and minimum security facilities;

25              c. The inmate’s conduct in prison, with inmates who have engaged in

26                   violent or gang-related activity in prison or who have incurred a BOP

27                   violation within the last year not receiving priority treatment;

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                                                                         Declaration of Dr. Hall| 2
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 1               d. The inmate’s score under PATTERN (the Prisoner Assessment Tool
 2                    Targeting Estimated Risk and Need),1 with inmates who have anything
 3                    above a minimum score not receiving priority treatment;
 4               e. Whether the inmate has a demonstrated and verifiable re-entry plan that
 5                    will prevent recidivism and maximize public safety, including verification
 6                    that the conditions under which the inmate would be confined upon
 7                    release would present a lower risk of contracting COVID-19 than the
 8                    inmate would face in his or her BOP facility;
 9               f. The inmate’s crime of conviction, and assessment of the danger posed
10                    by the inmate to the community. Some offenses, such as sex offenses,
11                    will render an inmate ineligible for home confinement. Other serious
12                    offenses weigh heavily against consideration for home confinement.
13         6.         In addition to setting forth these factors, the March 26, 2020
14   Memorandum stated that before granting any inmate discretionary release, the BOP
15   Medical Director, or someone he designates, will, based on CDC guidance, make an
16   assessment of the inmate’s risk factors for severe COVID-19 illness, risks of
17   COVID-19 at the inmate’s prison facility, as well as the risk of COVID-19 at the
18   location in which the inmate seeks home confinement. The BOP will not grant home
19   confinement to inmates when doing so is likely to increase their risk of contracting
20   COVID-19. The BOP will grant home confinement only when it has determined --
21   based on the totality of circumstances for each individual inmate -- that transfer to
22   home confinement is likely not to increase the inmate’s risk of contracting COVID-
23   19.
24         7.         Moreover, the March 26, 2020 Memorandum noted that for the
25   protection of the public, any inmate to whom BOP grants home confinement is to
26   be placed in a mandatory 14-day quarantine before that inmate is discharged from a
27
           1   For more information on PATTERN, please visit www.bop.gov via Inmates/ First Step Act tab.
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                                                                                      Declaration of Dr. Hall| 3
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 1   BOP facility to home confinement. Inmates transferred to home confinement under
 2   this prioritized process are also subject to location monitoring devices and, where a
 3   court order is entered, are subject to supervised release.
 4 IV. The CARES Act and the Attorney General’s Memorandum for the
       Director of the Bureau of Prisons, dated April 3, 2020
 5
 6     8.    The Coronavirus Aid, Relief, and Economic Security (CARES) Act,

 7   Public Law No. 116-236 (enacted March 27, 2020), authorizes the Attorney General

 8   to expand the cohort of inmates who can be considered for home confinement upon

 9   his finding of emergency conditions which are materially affecting the function of

10   the BOP. On April 3, 2020, the Attorney General made that finding, and in a

11   Memorandum for the Director of the Bureau of Prisons (April 3, 2020

12   Memorandum), authorized the Director to immediately maximize appropriate

13   transfers to home confinement of all appropriate inmates held at BOP facilities where

14   the Director determines that COVID-19 is materially affecting operations.

15         9.     The April 3, 2020 Memorandum specifically stated that the BOP must

16   move with dispatch in using home confinement, where appropriate, to move

17   vulnerable inmates out of FCI Oakdale, FCI Danbury, and FCI Elkton, and to give

18   priority to those institutions, and others similarly affected, as the BOP continues to

19   process the remaining inmates who are eligible for home confinement under pre-

20   CARES Act standards.

21         10.    The April 3, 2020 Memorandum directed that the BOP give priority in

22   implementing the new standards to the most vulnerable inmates at the most affected

23   facilities and was explicit that the BOP should begin implementing this directive

24   immediately at the identified facilities and any other facilities at risk of similar

25   problems. The April 3, 2020 Memorandum stated that the review should include a

26   much broader pool of at-risk inmates—not only those who were eligible for transfer

27   prior to the Attorney General exercising his authority under the CARES Act.

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                                                                    Declaration of Dr. Hall| 4
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 1         11.    For inmates deemed suitable candidates for home confinement, the
 2   April 3, 2020 Memorandum directed the BOP to immediately process these inmates
 3   for transfer and then immediately transfer them following a 14-day quarantine at an
 4   appropriate BOP facility. The April 3, 2020 Memorandum further authorized BOP
 5   to, in appropriate cases, require that the inmate being transferred undergo his or her
 6   14-day quarantine in the residence to which the inmate is being transferred rather
 7   than in the BOP facility from which the inmate is being transferred. The assessment
 8   of all inmates remains guided by the factors in the March 26, 2020 Memorandum.
 9         12.    The April 3, 2020 Memorandum also recognized that the BOP has
10   limited resources to monitor inmates on home confinement and that the U.S.
11   Probation Office is unable to monitor large number of inmates in the community,
12   and authorized the BOP to transfer inmates to home confinement even if electronic
13   monitoring is not available, so long as it determines in every instance that doing so is
14   appropriate and consistent with the obligation to protect public safety.
15         13.    Lastly, the April 3, 2020 Memorandum stated that it is essential for the
16   BOP to continue making determinations for home confinement in a careful and
17   individualized way that remains faithful to the duty of protecting the public and law
18   enforcement officers.
19   V. The BOP’s Implementation of the March 26, 2020 and the April 3, 2020
        Memoranda
20
21         14.    The BOP is devoting all available resources to executing the Attorney

22   General’s directives, with such resources tailored and prioritized according to the

23   needs of individual institutions across the country. The BOP is assessing the inmate

24   population to determine which inmates would be appropriate for transfer under this

25   priority program.    The BOP is then processing those inmates for transfer as

26   expeditiously as possible.

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                                                                      Declaration of Dr. Hall| 5
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 1         15.   The BOP is also frequently updating its public website to provide
 2   information and responses to frequently asked questions regarding its response to
 3   the COVID-19 pandemic, including providing information regarding its
 4   implementation of the Attorney General’s directives.
 5         16.   The BOP has increased home confinement by over 65.6% since March
 6   2020, and is continuing to aggressively screen inmates for home confinement. Since
 7   the March 26, 2020 Memorandum instructing the BOP to prioritize home
 8   confinement as an appropriate response to the COVID-19 pandemic, the BOP has
 9   placed an additional 1,871 inmates on home confinement. See www.bop.gov.
10         17.   Inmates do not need to apply to be considered for home confinement.
11   BOP Case Management staff are urgently reviewing all inmates to determine which
12   ones meet the criteria established by the Attorney General. While all inmates are
13   being reviewed for suitability for home confinement, any inmate who believes he or
14   she is eligible may request to be referred to home confinement and provide a release
15   plan to his or her Case Manager.
16         18.   It should be noted that for public safety reasons, in accordance with the
17   March 26, 2020 Memorandum, and to ensure BOP is deploying its limited resources
18   in the most effective manner, the BOP is currently assessing a number of factors to
19   ensure that an inmate is suitable for home confinement including, but not limited to,
20   reviewing the inmate’s institutional discipline history for the last twelve months;
21   ensuring that the inmate has a verifiable release plan; verifying that the inmate’s
22   primary offense is not violent, a sex offense, or terrorism related; and confirming the
23   inmate does not have a current detainer.
24         19.   In addition, and in order to prioritize its limited resources, BOP has
25   generally prioritized for home confinement those inmates who have served a certain
26   portion of their sentences, or who have only a relatively short amount of time
27   remaining in those sentences. While these priority factors are subject to deviation in
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                                                                     Declaration of Dr. Hall| 6
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 1   BOP’s discretion in certain circumstances and are subject to revision as the situation
 2   progresses, BOP is at this time prioritizing for consideration those inmates who
 3   either (1) have served 50% or more of their sentences, or (2) have 18 months or less
 4   remaining in their sentences and have served 25% or more of their sentences. As
 5   BOP processes the inmates eligible for home confinement under these criteria and
 6   learns more about the COVID-19 pandemic and its effect on BOP facilities, it is
 7   assessing whether and how to otherwise prioritize consideration.
 8         20.      If the incarcerated individual does not qualify for home confinement
 9   under BOP criteria, an inmate may be reviewed for placement in a Residential
10   Reentry Center and home confinement at a later stage in accordance with applicable
11   laws and BOP policies.
12 VI. Measures to Protect Inmate and Staff Safety
13         21.      In response to the pandemic, BOP has taken significant measures to
14   protect the health of the inmates in its charge. These steps include, but are not
15   limited to the following:
16               a. Beginning April 13, 2020, BOP implemented Phase 6 of the Action Plan,
17                  which currently governs operations. The current modified operations
18                  plan requires that all inmates in every BOP institution be secured in their
19                  assigned cells/quarters for a period of at least 14 days, in order to stop
20                  any spread of the disease. Only limited group gathering is afforded, with
21                  attention to social distancing to the extent possible, to facilitate
22                  commissary, laundry, showers, telephone, and computer access. Further,
23                  BOP has severely limited the movement of inmates and detainees
24                  among its facilities. Though there will be exceptions for medical
25                  treatment and similar exigencies, this step as well will limit transmissions.
26               b. All staff and inmates have been and will continue to be issued an
27                  appropriate face covering and strongly encouraged to wear the face
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                                                                         Declaration of Dr. Hall| 7
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 1             covering when in public areas when social distancing cannot be
 2             achieved.
 3          c. All newly admitted inmates are screened for COVID-19 exposure risk
 4             factors and symptoms, placed in quarantined for a full fourteen days,
 5             and have their temperature taken daily.         Any inmates displaying
 6             symptoms are placed in isolation and tested for the COVID19 virus and
 7             kept in isolation and treated until they test negative for COVID-19 or
 8             are cleared by medical staff as meeting CDC criteria for release from
 9             isolation. Asymptomatic inmates who were at risk of exposure to
10             COVID-19 are also quarantined and tested daily.
11          d. In addition, in areas with sustained community transmission and at
12             medical centers, all staff are screened for symptoms. Staff registering a
13             temperature of 100.4 degrees Fahrenheit or higher are barred from the
14             facility on that basis alone. A staff member with a stuffy or runny nose
15             can be placed on leave by a medical officer.
16          e. Contractor access to BOP facilities is restricted to only those performing
17             essential services (e.g. medical or mental health care, religious, etc.) or
18             those who perform necessary maintenance on essential systems. All
19             volunteer visits are suspended absent authorization by the Deputy
20             Director of BOP. Any contractor or volunteer who requires access will
21             be screened for symptoms and risk factors.
22          f. Social and legal visits were stopped as of March 13, 2020, and remain
23             suspended until at least May 18, 2020, to limit the number of people
24             entering the facility and interacting with inmates. In order to ensure that
25             familial relationships are maintained throughout this disruption, BOP
26             has increased detainees’ telephone allowance to 500 minutes per month.
27             Tours of facilities are also suspended. Legal visits will be permitted on a
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                                                                   Declaration of Dr. Hall| 8
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 1                 case-by-case basis after the attorney has been screened for infection in
 2                 accordance with the screening protocols in place for prison staff,
 3                 contractors, and visitors.
 4              g. Further details and updates of BOP’s modified operations are available
 5                 to the public on the BOP website at a regularly updated resource page:
 6                 www.bop.gov/coronavirus/index.jsp.
 7 VII. Earnest Gibson                    /FCI Forrest City Low
 8        22.       Defendant is a       year old male, serving an aggregated 241 month
 9   sentence, with a 3 year term of supervised release, for his convictions on Conspiracy
10   to Commit Health Fraud, Conspiracy to Defraud the U.S., Offering or Paying Health
11   Care Kickbacks, Aiding and Abetting, and Conspiracy to Commit Money Laundering.
12
13                                              and was subsequently convicted in the Eastern
14   District of Arkansas for Possession of a Prohibited Object by a Prison Inmate
15   (Cellphone), for which he received a one month sentence consecutive to the sentence
16   he was already serving.
17        23.      Defendant has a projected release date of
18                           . He is classified as a                                    inmate.
19
20
21
22        24.      FCI Forrest City Low is in compliance with BOP protocols and CDC
23   guidance regarding procedures to combat the COVID-19 pandemic outlined in the
24   attachments.
25        25.      The institution is on modified operations and inmates are not permitted
26   to go to Recreation, Education, or Food Service. Att. 1. The inmate’s meals are
27   delivered to the housing units, and any movements are controlled by one pod at a
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                                                                       Declaration of Dr. Hall| 9
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 1   time in order to avoid cross contamination. Inmates are strongly advised to keep
 2   social distancing. However, they do receive their commissary and are allowed to
 3   spend $150.00 every other week.
 4            26.   The staff are required to wear PPE equipment daily in order to protect
 5   themselves from contracting the virus. In isolation areas they are in full PPE (gown,
 6   goggles, mask, gloves), and in areas that are not affected by the virus they are required
 7   to wear a mask and gloves.
 8            27.   Each inmate has been issued three cloth masks to wear and are issued a
 9   hygiene kit each week with hand sanitizer, two additional bars of soap, razors and
10   toothpaste. Att. 2. Additionally, FCC Forrest City has foam soap on the wall for the
11   inmates to use that is filled up throughout the day and in the evening. Families have
12   never been able to mail in items to inmates under BOP policy, and this rule is even
13   more important now to avoid cross-contamination.
14            28.   The Safety department provides bleach to all housing units every
15   morning and the counselor sprays down every bathroom continuously throughout the
16   day and the HALT chemical which is used daily to saturate the inmates cells and
17   cubicles to kill the virus, and the inmate orderlies walk around continuously saturating
18   the highly used areas such as computer tables, phones, and wiping down computer
19   keys. The Laundry staff have a schedule where they come to the units daily to pick
20   up the inmate’s clothes to wash them at a 130 degrees temperature water to kill the
21   virus.     The administration is constantly putting out information to the inmate
22   population to educate them on the virus. Currently, the CDC is here conducting a
23   study and testing inmates for the virus, Att. 3, but many are refusing to test. However,
24   those who have tested are properly being cared for and isolated from those inmates
25   that test negative.
26            29.   FCC Forrest City is testing the pods that have the most positive cases,
27   and is isolating those inmates in the vocational area, which is set up like a hospital.
28
                                                                    Declaration of Dr. Hall| 10
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 1   Inmates waiting test results are isolated in the Chapel area pending results. Inmates
 2   who test negative are housed in the Education area. Inmates in recovery are in the
 3   Visiting Room and Recreation areas. All of these areas have televisions for the
 4   inmates to watch and they receive a phone call three times per week.
 5         30.    The inmates in isolation (see ¶ 21.c above), those waiting test results and
 6   those in recovery see the nursing staff daily. Because of the outstanding job of the
 7   Health Services department FCC Forrest City currently has ninety-seven inmates who
 8   have fully recovered from this virus, and no inmate deaths.
 9         31.    The CDC is on the compound testing inmates for the COVID19 virus
10   in an effort to assist the FCC Forrest City in identifying those highly affected areas in
11   the institution in effort to stop the spread of the virus by identifying and separating
12   those inmates infected with the virus. The CDC will be at FCC Forrest City for two
13   weeks or it could be longer, depending on the time it takes them to complete their
14   data collection.
15 VIII.     Compassionate Release / Reduction in Sentence Procedures
16         32.    The BOP lacks the authority to provide inmates with a reduction in
17 sentence through compassionate or “early release.” Rather, only an Article III
18 judge—specifically, the inmate’s sentencing judge—may authorize such a reduction
19 of an inmate’s federal sentence. However, on an inmate’s request, the Director of the
20 BOP may make a motion to an inmate’s sentencing court to reduce a term of
21 imprisonment under 18 U.S.C. § 4205(g) and 18 U.S.C. § 3582(c)(1)(A). The BOP
22 uses these statutory authorities in “extraordinary or compelling circumstances” which
23 could not reasonably have been foreseen by the court at the time of sentencing. This
24 process is outlined in BOP Program Statement 5050.50, Compassionate Release/Reduction
25 In Sentence Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g). (This BOP
26 program statement is available at www.bop.gov via the Resources tab).
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                                                                    Declaration of Dr. Hall| 11
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 1        33.    Additionally, the First Step Act specifies that an inmate may file a Motion
 2   for Reduction of Sentence directly in the sentencing court after exhaustion of
 3   administrative remedies, or 30 days from the date the warden receives such a request
 4   from the inmate, whichever is earlier. See 18 U.S.C. § 3582(c)(1)(A).
 5
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 7 Executed on this ___ day of ____, 2020.
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 9                                         ______________________________
10                                         Dr. Tanisha Hall
                                           Associate Warden
11
                                           Federal Bureau of Prisons
12                                         FCC Forrest City
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                                                                   Declaration of Dr. Hall| 12
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  1
  2                    UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
  3
  4   UNITED STATES OF AMERICA,             o. 2:10-CR-1104

  5              V.

  6   MARCUS GIBBS,                        DECLARATION OF
                                           DR. TANISHA HALL
  7                    D efendant.
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  1         I, Dr. Tanisha Hall, declare the following under 28 U.S.C. § 1746, and state that
  2   under penalty of perjury the following is true and correct to the best of my knowledge
  3   and belief:
  4   I.         Personal Background

  5         1.       I am currently employed by the Federal Bureau of Prisons (BOP) of the
  6   United States Department of Justice, as an .Associate Warden, at FCC Forrest City.
  7         2.       I started my career with the Bureau of Prisons as a Correctional Officer
  8   at FPC Bryan in September 1994. In November 1995, I promoted to Correctional
  9   Systems Officer at FPC Bryan, and Drug Treatment Specialist in December 1997. In
 10   September 1999, I promoted to Case Manager at FPC Bryan, where I remained until
 11   my selection as Reentry Affairs Coordinator at FDC Houston in July 2012. In
 12   September 2014, I promoted to Unit Manager at FCI Bastrop, and Executive
 13   Assistant and Camp Administrator at FCC Pollock in July 2016, where I remained
 14   until my selection as Associate Warden at FCC Forrest City in December 2018.
 15 II.      The BOP's Authority to Place Inmates on Home Confinement
 16         3.      The BOP's statutory authority to transfer prisoners to home
 17   confinement rests in 18 U.S.C. § 3624(c) (2) and 34 U.S.C. § 60541. The BOP's policy
 18   and procedures regarding home confinement are outlined in BOP Program
 19   Statement 7320.01, Home Confinement and BOP Operations Memorandum, Home
 20   Confinement under the First Step Act, both of which are available on www.bop.gov via
 21   the Resources tab. Both statutes set forth certain limitations with respect to the
 22   BOP's transfer authority.      See 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541.
 23   However, pursuant to the Attorney General's directives in light of the COVID-19
 24   pandemic, dated March 26, 2020, and April 3, 2020, infra, and given the surge in
 25   positive cases at select sites, the BOP began immediately reviewing all inmates who
 26   have COVID-19 risk factors, as described by the Centers for Disease Control and
 27   Prevention (CDC), to determine which inmates are suitable for home confinement.

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                                                                      Declaration of Dr. Hall I 1
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   1   Since the release of the Attorney General's original memorandum dated March 26,
  2    2020, the BOP is prioritizing transfers to home confinement of all suitable inmates
  3    as an appropriate response to the COVID-19 pandemic.
  4 III.    The Attorney General's Memorandum for the Director of the Bureau of
            Prisons, dated March 26, 2020
  5
             4.        On March 26, 2020, the Attorney General issued a Memorandum for
  6
       the Director of the Bureau of Prisons (the March 26, 2020 Memorandum) to ensure
  7
       that, in light of the COVID-19 pandemic, BOP utilizes home confinement, where
  8
       appropriate, to protect the health and safety of BOP personnel and people in BO P's
  9
       custody. Pursuant to the March 26, 2020 Memorandum, BOP is prioritizing the use
 10
       of its statutory authorities to grant home confinement for inmates seeking transfer
 11
       in connection with the ongoing COVID-19 pandemic. It was noted in the March
 12
       26, 2020 Memorandum that many inmates will be safer in BOP facilities where the
 13
       population is controlled and there is ready access to doctors and medical care. But
 14
       for some eligible inmates, home confinement might be more effective in protecting
 15
       their health.
 16
             5.        In assessing whether home confinement should be granted pursuant to
 17
       the March 26, 2020 Memorandum, BOP considers the totality of circumstances for
 18
       each individual inmate, the statutory requirements for home confinement, and the
 19
       following non-exhaustive list of discretionary factors:
 20
                  a. The age and vulnerability of the inmate to COVID-19, in accordance
 21
                       with the CDC guidelines;
 22
                  b. The security level of the facility currently holding the inmate, with
 23
                       priority given to inmates residing in low and minimum security facilities;
 24
                  c. The inmate's conduct in prison, with inmates who have engaged in
 25
                       violent or gang-related activity in prison or who have incurred a BOP
 26
                       violation within the last year not receiving priority treatment;
 27

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                                                                           Declaration of Dr. Hall I 2
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  1              d. The inmate's score under PATTERN (the Prisoner Assessment Tool

  2                    Targeting Estimated Risk and Need), 1 with inmates who have anything

  3                    above a minimum score not receiving priority treatment;

  4              e. Whether the inmate has a demonstrated and verifiable re-entry plan that

  5                    will prevent recidivism and maximize public safety, including verification

  6                    that the conditions under which the inmate would be confined upon

  7                    release would present a lower risk of contracting COVID-19 than the

  8                    inmate would face in his or her BOP facility;

  9              f. The inmate's crime of conviction, and assessment of the danger posed

 10                    by the inmate to the community. Some offenses, such as sex offenses,

 11                    will render an inmate ineligible for home confinement. Other serious

 12                    offenses weigh heavily against consideration for home confinement.

 13         6.         In addition to setting forth these factors, the March 26, 2020

 14   Memorandum stated that before granting any inmate discretionary release, the BOP

 15   Medical Director, or someone he designates, will, based on CDC guidance, make an

 16   assessment of the inmate's risk factors for severe COVID-19 illness, risks of

 17   COVID-19 at the inmate's prison facility, as well as the risk of COVID-19 at the

 18   location in which the inmate seeks home confinement. The BOP will not grant home

 19   confinement to inmates when doing so is likely to increase their risk o f contracting

 20   COVID-19. The BOP will grant home confinement only when it has determined --

 21   based on the totality of circumstances for each individual inmate -- that transfer to

 22   home confinement is likely not to increase the inmate's risk of contracting COVID-

 23   19.

 24         7.         Moreover, the March 26, 2020 Memorandum noted that for the

 25   protection of the public, any inmate to whom BOP grants home confinement is to

 26   be placed in a mandatory 14-day quarantine before that inmate is discharged from a

 27
            1 For   more information on P.ATIERN, please visit www.bop.gov via Inmates/ First Step .Act tab.
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  1   BOP facility to home confinement. Inmates transferred to home confinement under
  2   this prioritized process are also subject to location monitoring devices and, where a
  3   court order is entered, are subject to supervised release.
  4 IV.    The CARES Act and the Attorney General's Memorandum for the
           Director of the Bureau of Prisons, dated April 3, 2020
  5
            8.     The Coronavirus Aid, Relief, and Economic Security (CARES) Act,
  6
      Public Law    o. 116-236 (enacted March 27, 2020), authorizes the Attorney General
  7
      to expand the cohort of inmates who can be considered for home confinement upon
  8
      his finding of emergency conditions which are materially affecting the function of
  9
      the BOP. On April 3, 2020, the Attorney General made that finding, and in a
 10
      Memorandum for the D irector of the Bureau of Prisons (April 3, 2020
 11
      Memorandum), authorized the Director to immediately maximize appropriate
 12
      transfers to home confinement of all appropriate inmates held at BOP facilities where
 13
      the Director determines that COVID-19 is materially affecting operations.
 14
            9.     The April 3, 2020 Memorandum specifically stated that the BOP must
 15
      move with dispatch in using home confinement, where appropriate, to move
 16
      vulnerable inmates out of FCI Oakdale, FCI Danbury, and FCI Elkton, and to give
 17
      priority to those institutions, and others similarly affected, as the BOP continues to
 18
      process the remaining inmates who are eligible for home confinement under pre-
 19
      CARES Act standards.
 20
            10.    The April 3, 2020 Memorandum directed that the BOP give priority in
 21
      implementing the new standards to the most vulnerable inmates at the most affected
 22
      facilities and was explicit that the BOP should begin implementing this directive
 23
      immediately at the identified facilities and any other facilities at risk of similar
 24
      problems. T he April 3, 2020 Memorandum stated that the review should include a
 25
      much broader pool of at-risk inmates-not only those who were eligible for transfer
 26
      prior to the Attorney General exercising his authority under the CARES Act.
 27
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                                                                     Declaration of Dr. Hall I 4
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  1         11.    For inmates deemed suitable candidates for home confinement, the
  2   April 3, 2020 Memorandum directed the BOP to immediately process these inmates
  3   for transfer and then immediately transfer them following a 14-day quarantine at an
  4   appropriate BOP facility. The April 3, 2020 Memorandum further authorized BOP
  5   to, in appropriate cases, require that the inmate being transferred undergo his or her
  6   14-day quarantine in the residence to which the inmate is being transferred rather
  7   than in the BOP facility from which the inmate is being transferred. The assessment
  8   of all inmates remains guided by the factors in the March 26, 2020 Memorandum.

  9         12.    The April 3, 2020 Memorandum also recognized that the BOP has
 10   limited resources to monitor inmates on home confinement and that the U.S.
 11   Probation Office is unable to monitor large number of inmates in the community,
 12   and authorized the BOP to transfer inmates to home confinement even if electronic
 13   monitoring is not available, so long as it determines in every instance that doing so is
 14   appropriate and consistent with the obligation to protect public safety.

 15         13.    Lastly, the April 3, 2020 Memorandum stated that it is essential for the
 16   BOP to continue making determinations for home confinement in a careful and
 17   individualized way that remains faithful to the duty of protecting the public and law
 18   enforcement officers.
 19   V.   The BOP's Implementation of the March 26, 2020 and the April 3, 2020
           Memoranda
 20
            14.    The BOP is devoting all available resources to executing the A ttorney
 21
      General's directives, with such resources tailored and prioritized according to the
 22
      needs of individual institutions across the country. The BOP is assessing the inmate
 23
      population to determine which inmates would be appropriate for transfer under this
 24
      priority program.    The BOP is then processing those inmates for transfer as
 25
      expeditiously as possible.
 26
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   1         15.   The BOP is also frequently updating its public website to provide

   2   information and responses to frequently asked questions regarding its response to

   3   the   COVID-19      pandemic,    including   providing information       regarding     its

   4   implementation of the Attorney General's directives.

   5         16.   The BOP has increased home confinement by over 65.6% since March

   6   2020, and is continuing to aggressively screen inmates for home confinement. Since

   7   the March 26, 2020 Memorandum instructing the BOP to prioritize home

   8   confinement as an appropriate response to the COVID-19 pandemic, the BOP has

   9   placed an additional 1,871 inmates on home confinement. See www.bop.gov.

  10         17.   Inmates do not need to apply to be considered for home confinement.

  11   BOP Case Management staff are urgently reviewing all inmates to determine which

  12   ones meet the criteria established by the Attorney General. While all inmates are

  13   being reviewed for suitability for home confinement, any inmate who believes he or

  14   she is eligible may request to be referred to home confinement and provide a release

  15   plan to his or her Case Manager.

  16         18.    It should be noted that for public safety reasons, in accordance with the
  17   March 26, 2020 Memorandum, and to ensure BOP is deploying its limited resources

  18   in the most effective manner, the BOP is currently assessing a number of factors to

  19   ensure that an inmate is suitable for home confinement including, but not limited to,

  20   reviewing the inmate's institutional discipline history for the last twelve months;

  21   ensuring that the inmate has a verifiable release plan; verifying that the inmate's

  22   primary offense is not violent, a sex offense, or terrorism related; and confirming the

  23   inmate does not have a current detainer.

  24         19.    In addition, and in order to prioritize its limited resources, BOP has

  25   generally prioritized for home confinement those inmates who have served a certain

  26   portion of their sentences, or who have only a relatively short amount of time

  27   remaining in those sentences. While these priority factors are subject to deviation in

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                                                                       Declaration of Dr. Hall I 6
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  1   BOP's discretion in certain circwnstances and are subject to revision as the situation
  2   progresses, BOP is at this time prioritizing for consideration those inmates who
  3   either (1) have served 50% or more of their sentences, or (2) have 18 months or less
  4   remaining in their sentences and have served 25% or more of their sentences. As
  5   BOP processes the inmates eligible for home confinement under these criteria and
  6   learns more about the COVID -19 pandemic and its effect on BOP facilities, it is
  7   assessing whether and how to othef\vise prioritize consideration.
  8         20.      If the incarcerated individual does not qualify for home confinement
  9   under BOP criteria, an inmate may be reviewed for placement in a Residential
 1o   Reentry Center and home confinement at a later stage in accordance with applicable
 11   laws and BOP policies.
 12 VI.    Measures to Protect Inmate and Staff Safety

 13         21.      In response to the pandemic, BOP has taken significant measures to
 14   protect the health of the inmates in its charge. These steps include, but are not
 15   limited to the following:
 16               a. Beginning April 13, 2020, BOP implemented Phase 6 of the Action Plan,
 17                  which currently governs operations. The current modified operations
 18                  plan requires that all inmates in every BOP institution be secured in their
 19                  assigned cells / quarters for a period of at least 14 days, in order to stop
 20                  any spread of the disease. Only limited group gathering is afforded, \.vith
 21                  attention to social distancing to the extent possible, to facilitate
 22                  commissary, laundry, showers, telephone, and computer access. Further,
 23                  BOP has severely limited the movement of inmates and detainees
 24                  among its facilities. Though there will be exceptions for medical
 25                  treatment and similar exigencies, this step as well will limit transmissions.
 26               b . All staff and inmates have been and will continue to be issued an
 27                  appropriate face covering and strongly encouraged to wear the face
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                                                                          Declaration of Dr. Hall I 7
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   1             covenng when      ill   public areas when social distancing cannot be

   2             achieved.

   3          c. Every newly admitted inmate is screened for COVID-19 exposure risk

   4             factors and symptoms. Newly admitted asymptomatic inmates with risk

   5             of exposure are placed in quarantine and are tested daily.    ewly admitted

   6             symptomatic inmates are placed in isolation until they test negative for

   7             COVID-19 or are cleared by medical staff as meeting CDC criteria for

   8             release from isolation.

   9          d. Inmates who are already incarcerated and who begin to show symptoms

  10             [are put into isolation and tested. If they test positive, they are treated

  11             and kept in isolation until they have recovered and are testing negative.

  12             Inmates who had exposure to [symptomatic inmates/ inmates who test

  13             positive] are screened daily for symptoms and tested]. In addition, in

  14             areas with sustained community transmission and at medical centers, all

  15             staff are screened for symptoms. Staff registering a temperature of 100.4

  16             degrees Fahrenheit or higher are barred from the facility on that basis

  17             alone. A staff member with a stuffy or runny nose can be placed on leave

  18             by a medical officer.

  19          e. Contractor access to BOP facilities is restricted to only those performing

  20             essential services (e.g. medical or mental health care, religious, etc.) or

  21             those who perform necessary maintenance on essential systems. All

  22             volunteer visits are suspended absent authorization by the Deputy

  23             Director of BOP. Any contractor or volunteer who requires access will

  24             be screened for symptoms and risk factors.

  25          f. Social and legal visits were stopped as of March 13, 2020, and remain

  26             suspended until at least May 18, 2020, to limit the number of people

  27             entering the facility and interacting with inmates. In order to ensure that

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   1                   familial relationships are maintained throughout this disruption, BOP

   2                   has increased detainees' telephone allowance to 500 minutes per month.

   3                   Tours of facilities are also suspended. Legal visits will be permitted on a

   4                   case-by-case basis after the attorney has been screened for infection in

   5                   accordance with the screening protocols in place for prison staff,

   6                   contractors, and visitors.

   7                g. Further details and updates of BO P's modified operations are available

   8                   to the public on the BOP website at a regularly updated resource page:
   9                   www.bop.gov/coronavirus/index.jsp.
  10 VII. FCI Forrest City Low

  11         22.       FCI Forrest City Low is in compliance with BOP protocols and CDC
  12   guidance regarding procedures to combat the COVID-19 pandemic outlined in the
  13   attachments.
  14         23 .      The institution is on modified operations and inmates are not permitted
  15   to go to Recreation, Education, or Food Service. Att. 1. The inmate's meals are
  16   delivered to the housing units, and any movements are controlled by one pod at a
  17   time in order to avoid cross contamination. Inmates are strongly advised to keep
  18   social distancing. [However, they do receive their commissary and are allowed to
  19   spend 150.00 every three weeks due to social distancing and the number of inmates
  20   allowed at the Commissary at one time. Additionally, the commissary is also working
  21   to ensure the store has adequate stock which ensures all inmates have the opportunity
  22   to purchase the same items without running out.]
  23         24.       The staff are required to wear PPE equipment daily in order to protect
  24   themselves from contracting the virus. In isolation areas they are in full PPE (gown,
 25    goggles, mask, gloves), and in areas that are not affected by the virus they are required
 26    to wear a mask and gloves.
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  1         25.    Each inmate has been issued three cloth masks to wear and are issued a

  2   hygiene kit each week with hand sanitizer, two additional bars of soap, razors and

  3   toothpaste. Att. 2. Additionally, FCC Forrest City has foam soap on the wall for the

  4   inmates to use that is filled up throughout the day and in the evening. Families have

  5   never been able to mail in items to inmates under BOP policy, and this rule is even

  6   more important now to avoid cross-contamination.

  7         26.   The Safety department provides bleach to all housing units every

  8   morning and the counselor sprays down every bathroom continuously throughout the

  9   day and the HALT chemical which is used daily to saturate the inmates cells and

 10   cubicles to kill the virus, and the inmate orderlies walk around continuously saturating

 11   the highly used areas such as computer tables, phones, and wiping down computer

 12   keys. The Laundry staff have a schedule where they come to the units daily to pick

 13   up the inmate's clothes to wash them at a 150 degrees temperature water to kill the

 14   virus. [Is the laundry policy daily or weekly?] The administration is constantly putting

 15   out information to the inmate population to educate them on the virus. Currently,

 16   the CDC is here conducting a study and testing inmates for the virus, Att. 3, but many

 17   are refusing to test. However, those who have tested are properly being cared for and

 18   isolated from those inmates that test negative.

 19         27.    FCC Forrest City is testing the pods that have the most positive cases,

 20   and is isolating those inmates in the vocational area, which is set up like a hospital.

 21   Inmates waiting test results are isolated in the Chapel area pending results. Inmates

 22   who test negative are housed in the Education area. Inmates in recovery are in the

 23   Visiting Room and Recreation areas. All of these areas have televisions for the

 24   inmates to watch and they receive a phone call three times per week.

 25         28.   The inmates in isolation (see ,i 21 .c above), those waiting test results and

 26   those in recovery see the nursing staff daily. Because of the outstanding job of the

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   1   Health Services department, Forrest City FCI Low currently has 110 inmates who
   2   have fully recovered from this virus, and no inmate deaths.
   3         29.    The CDC is on the compound testing inmates for the COVID19 virus
   4   in an effort to assist the FCC Forrest City in identifying those highly affected areas in
   5   the institution in effort to stop the spread of the virus by identifying and separating
   6   those inmates infected with the virus. The CDC will be at FCC Forrest City for at
   7   least another two weeks as FCC Forrest City is testing all the inmates at the Low
   8   Component , it depends on the time it takes them to complete their data collection.
   9 VIII.     Compassionate Release / Reduction in Sentence Procedures

  10         30.    The BOP lacks the authority to provide inmates with a reduction in
  11   sentence through compassionate or "early release."        Rather, only an Article III
  12 judge-specifically, the inmate's sentencing judge-may authorize such a reduction
  13 of an inmate's federal sentence. However, on an inmate's request, the Director of the
  14 BOP may make a motion to an inmate's sentencing court to reduce a term of
  15 imprisonment under 18 U.S.C. § 420S(g) and 18 U.S.C. § 3582(c)(1)(A) . The BOP
  16 uses these statutory authorities in "extraordinary or compelling circumstances" which
  17 could not reasonably have been foreseen by the court at the time of sentencing. This
  18 process is outlined in BOP Program Statement SOSO.SO, Compassionate Release/ Reduction
  19 In Sentence Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g). (This BOP
  20 program statement is available at www.bop .gov via the Resources tab).
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                                                                       Declaration of Dr. Hall I 11
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  1         31.     dditionally, the First Step Act specifies that an inmate may file a Motion
  2   for Reduction of Sentence directly in the sentencing court after exhaustion of
  3   administrative remedies, or 30 days from the date the warden receives such a request
  4   from the inmate, whichever is earlier. See 18 U.S.C. § 3582(c)(1)(A) .
  5
  6

  :   Executed on this   J±Jay 1-7----,
                                of            2020.


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 10                                         Dr. Tanisha Hall
                                            Associate Warden
 11
                                            Federal Bureau of Prisons
 12                                         FCC Forrest City
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